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     UNITED STATES V. MATTHEW JASON BEDDINGFIELD

                    Case No.: 22-CR-66 (CJN)




                   Exhibit B – Character Letter


                          Lynn Spivey
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Dear Judge Nichols,
      I am writing to you on behalf of my brother, Matthew
Beddingfield. Matthew is a huge part of me and my kids' lives. He has
been a part of my kids' lives since the day they were born. He loves
them and they love him. When Matthew has the opportunity he is
either at our home eating with us or just to spend time and play with
my kids. He is very active in all 3 of my kids' lives and it would be
devastating for them to lose him for a long period of time
      My brother has been bullied a lot in his life from kids at
school. He was always the chunky kid that the kids made jokes
about. He always felt left out and this caused him to have a
huge fear of rejection throughout his life.
      As for the January 6th situation my brother was there simply to
witness a historical event. He is young and was caught up in the
emotions of the crowd. Fortunately, he was not hurt nor did he hurt
anyone. However, had he known that the event was going to turn into
what it did he would have never gone there in the first place. He did
not go there looking for or expecting trouble.
      Matthew is very book smart and has a lot of potential to do great
things in this world. He is a hard honest worker. He is very sorry for
his role in the January 6 incident. I am asking you from the bottom of
my heart on behalf of my kids and me to please let this horrible
experience be over for him so he can move on with his life and
continue to be a productive member of society.

 Sincerely
Lynn Spivey
